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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS


                                                       )
WILLIAM MCDERMET,                                      )
                                                       )
                  Plaintiff,                           )
         v.                                            )      Case No. 1:18-cv-10043-ADB
                                                       )
LIBERTY POWER CORP., LLC,                              )
                                                       )
                  Defendants.                          )
                                                       )

                                                       )
LIBERTY POWER CORP., LLC,                              )
as parent of Liberty Power Holdings, LLC,              )
                                                       )
                  Defendant/Third-Party Plaintiff,     )
                                                       )
v.                                                     )
                                                       )
MEZZI MARKETING, LLC,                                  )
                                                       )
                  Third-Party Defendant.               )
                                                       )

               THIRD-PARTY COMPLAINT OF LIBERTY POWER CORP., LLC

         Liberty Power Corp., LLC (“Liberty Power”), as Third-Party Plaintiff, files this Third-

Party Complaint against Third-Party Defendant, Mezzi Marketing, LLC (“Mezzi”). Liberty

Power alleges as follows:

                                           INTRODUCTION

         1.       This is an action by Defendant/Third-Party Plaintiff Liberty Power for

indemnification and contribution against Third-Party Defendant Mezzi arising out of a complaint

(the “Underlying Complaint”) filed by William McDermet (“McDermet”).




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                                               PARTIES

          2.       Third-Party Plaintiff Liberty Power is a limited liability company duly organized

under the laws of the State of Delaware with its principal place of business located at 2100 W.

Cypress Creek Rd., Suite 130, Fort Lauderdale, Florida.

          3.       Liberty Power is the parent company of Liberty Power Holdings, LLC

(“LPHLLC”). LPHLLC is a limited liability company duly organized under the laws of the State

of Delaware with a principal place of business located at 2100 W. Cypress Creek Rd., Suite 130,

Fort Lauderdale, Florida.

          4.       Mezzi is a limited liability company duly organized under the laws of the State of

Delaware with its principal place of business located at 680 Amboy Ave, Woodbridge, New

Jersey.

                                           JURISDICTION

          5.       This court has jurisdiction over this matter pursuant to 28 U.S.C. § 1367(a), which

gives this court supplemental jurisdiction over this claim as it is part of the same case and

controversy as the claims over which the Court has original jurisdiction.

                                                FACTS

          6.       On or about October 11, 2017, McDermet commenced this litigation against

Liberty Power. The Underlying Complaint alleges that Liberty Power violated the Federal

Telephone Consumer Protection Act (47 U.S.C. § 227), Massachusetts’s Telemarketing

Solicitation statute (G.L. c. § 159C), and the Massachusetts Consumer Protection Act (G.L. c.

93A). A true and accurate copy of the Underlying Complaint is attached hereto as Exhibit A.

          7.       On or about May 5, 2016, LPHLLC and Mezzi entered into a Telesales Channel

Agreement (the “Agreement”) whereby Mezzi agreed to perform marketing and customer



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acquisition services by use of telesales activities, with mutual promises, covenants, and

agreements included therein. A true and accurate copy of the Telesales Channel Agreement is

attached hereto, and incorporated herein by reference as Exhibit B.

         8.       On or about January 1, 2017, LPHLLC and Mezzi executed an Amendment to the

Agreement. A copy of the Amendment to the Telesales Channel Agreement is attached hereto,

and incorporated herein by reference as Exhibit C.

         9.       The Agreement, as amended, is a valid binding contract between LPHLLC and

Mezzi.

         10.      At all times relevant hereto with respect to the Underlying Complaint, Liberty

Power was the known and intended third-party beneficiary of the Agreement and Mezzi knew its

actions under the Agreement were intended for the benefit of Liberty Power and LPHLLC.

         11.      Mezzi agreed to provide services under the Agreement “for the benefit of

[LPHLLC] and any of its affiliates.” Agreement, Exhibit B, p. 1 (emphasis added).

         12.      Pursuant to Section 2.06 of the Agreement, as amended, entitled “Compliance

with Laws,” Mezzi agreed to comply with all applicable laws:

         Telesales Channel represents to Retailer that it is familiar with all laws, ordinances,
         rules, and regulations governing Telesales solicitation of Services and expressly
         acknowledges that Retailer relies upon such representation. Retailer and Telesales
         Channel agree to comply with all local, state, and federal laws and regulations,
         including the telemarketing sales rules adopted by the Federal Trade Commission
         in 16 C.F.R. Part 310, applicable to the transactions between and among Retailer,
         Telesales Channel and the Eligible Customers and Acquired Customers.

         13.      Pursuant to Section 5.01 of the Agreement, as amended, entitled “Indemnity”,

Mezzi agreed to indemnify Liberty Power for, inter alia, breaches of the Agreement and

noncompliance with applicable law:

         Telesales Channel agrees to indemnify, defend and hold the Retailer and its Third-
         Party Supplier harmless against all claims, damages, and liability (including

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          reasonable attorney’s fees, fines, penalties, etc.) resulting from or arising out of
          Telesales Channel’s breach of this Agreement, non-compliance with any applicable
          law or regulation, other failure to perform its obligations under this Agreement,
          negligence, misconduct, or any material inaccuracy of any representation or
          warranty set forth in this Agreement. The obligation set forth in this Paragraph
          shall survive the expiration or any termination of this Agreement, with respect to
          any such claim, damage or liability, until the statute of limitations applicable to
          such matter has expired.

          14.    Upon information and belief, Mezzi made certain telephone calls received by and

complained of by McDermet in the Underlying Complaint.

          15.    By letter dated January 5, 2018, in accordance with Section 5.01 of the

Agreement, Liberty Power provided prompt written notice of the Underlying Complaint to

Mezzi and demanded that Mezzi assume sole control of the defense of the same. Liberty Power

further demanded indemnification from Mezzi pursuant to the Agreement. A true and accurate

copy of the January 5, 2018 letter is attached hereto, and incorporated herein by reference as

Exhibit D.

          16.    Mezzi acknowledged receipt of Liberty Power’s indemnification request by email

from Ali Nadeem dated January 25, 2018.

                                              COUNT I

                                       INDEMNIFICATION

          17.    Liberty Power repeats and incorporates by reference the allegations contained

within Paragraphs 1 through 16 of this Third-Party Complaint as if each were fully set forth

herein.

          18.    Pursuant to the Agreement, Mezzi is obligated to comply with all applicable laws.

          19.    Pursuant to the Agreement, Mezzi is required to indemnify Liberty Power from

and against all claims, damages and liability resulting from, inter alia, Mezzi’s breach of the




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Agreement, noncompliance with any applicable laws, and other failure by Mezzi to perform its

obligations under the Agreement.

          20.   Liberty Power provided prompt written notice to Mezzi of the Underlying

Complaint and attempted to tender sole control of the defense of the claim to Mezzi by letter

dated January 5, 2018.

          21.   Should Liberty Power be found liable to McDermet in the instant action, which

liability Liberty Power expressly denies, such liability will be due to certain telephone calls

placed by Mezzi and received by and complained of by McDermet in the Underlying Complaint.

          22.   Therefore, Liberty Power is entitled to complete indemnification from Mezzi for

all damages, costs, and expenses assessed.

          WHEREFORE, Defendant/Third-party Plaintiff Liberty Power respectfully demands

judgment against Third-party Defendant, Mezzi Marketing, LLC, for indemnification, together

with interest, costs and attorney's fees, and other such relief as this Court deems just and proper.

                                             COUNT II

                                         CONTRIBUTION

          23.   Liberty Power repeats and incorporates by reference the allegations contained

within Paragraphs 1 through 22 of this Third-Party Complaint as if each were fully set forth

herein.

          24.   McDermet has alleged in the Underlying Complaint that he incurred damages as a

result of Liberty Power’s purported actions.

          25.   If Liberty Power is liable to McDermet in this action, which it expressly denies,

then such liability, if any, is attributable to the acts and omissions of Mezzi.




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         26.   Liberty is entitled to receive contribution from Mezzi if Liberty Power is liable to

McDermet in this action, which it expressly denies.

         WHEREFORE, Defendant/Third-Party Plaintiff Liberty Power respectfully demands

judgment against Third-Party Defendant, Mezzi Marketing, LLC, for contribution, together with

interest, costs and attorney's fees, and other such relief as this Court deems just and proper.



                               DEMAND FOR TRIAL BY JURY

Liberty Power demands trial by jury as to all issues so triable.




                                       Respectfully submitted,

                                       LIBERTY POWER CORP., LLC,

                                       By its attorneys,


                                       /s/ Pamela C. Rutkowski
                                       Craig R. Waksler (B.B.O. # 566087)
                                       Pamela C. Rutkowski (B.B.O. # 681618)
                                       ECKERT SEAMANS CHERIN & MELLOTT, LLC
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                                       cwaksler@eckertseamans.com
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Dated: February 13, 2018




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document(s) filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those parties which are as non-registered participants, including
specifically by first class U.S. mail, postage prepaid, to:

William McDermet, pro se
4 Second Street
Ipswich, MA 01938

Date: February 13, 2018

                                      /s/ Pamela C. Rutkowski
                                      Pamela C. Rutkowski




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